
44 So. 3d 1281 (2010)
Lashonda FRANKLIN, Appellant,
v.
PROGRESSIVE AMERICAN INSURANCE COMPANY, a Florida Corporation, Appellee.
No. 1D10-1845.
District Court of Appeal of Florida, First District.
October 7, 2010.
John S. Kalil of Law Offices of John S. Kalil, P.A., Jacksonville, and John E. Spiller of John E. Spiller, P.A., Kissimmee, for Appellant.
Jeffrey E. Bigman of Smith Hood Bigman, Daytona Beach, for Appellee.
PER CURIAM.
The trial court's order of summary judgment in favor of appellee is AFFIRMED. See Wolf v. Progressive Am. Ins. Co., 34 So. 3d 81, 82 (Fla. 1st DCA 2010) ("We do not read the plain language of section 627.727(1) to require that notice of UM coverage availability be sent more frequently than annually, even where ... the insured's policy renews every six months."), rev. denied, 42 So. 3d 800, 800 (Fla.2010).
WOLF, KAHN, and WEBSTER, JJ., concur.
